Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 1 of 31




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA


                       Case No. 22-20306-CR-GAYLES/TORRES


  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  LUIS FERNANDO VUTEFF,

        Defendant.

  ___________________________________________/



                 ORDER ON MOTION TO DISQUALIFY
        COUNSEL EDWARD ROBERT SHOHAT AND JONES WALKER

        This matter is before the Court on the United States’ (the “Government”)

  motion to disqualify Edward Robert Shohat (“Mr. Shohat”) and the law firm of Jones

  Walker (the “Firm”) (collectively, “counsel”) from representing Luis Fernando Vuteff

  (“Mr. Vuteff” or “Defendant”) in these criminal proceedings. [D.E. 37]. Defendant

  filed his response to the motion on November 1, 2022. [D.E. 42]. The Court held four

  hearings on the matter on December 20, 2022, January 10, May 2, and May 19, 2023.

  Following the May 2 hearing, the Court requested the filing of supplemental briefing,

  which the parties filed on May 16, 2023. [D.E. 83, 84]. Therefore, the Government’s

  motion is now ripe for disposition.1    After careful consideration of the motion,


  1 On November 1, 2022, United States District Judge Darrin P. Gayles referred the

  subject motion to the undersigned Magistrate Judge for disposition. [D.E. 41].
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 2 of 31




  response, additional briefings, relevant authority, and for the reasons discussed

  below, the Government’s motion is GRANTED.

                                I.   BACKGROUND

        The Government’s motion presents a unique situation involving very well

  respected counsel, Edward Shohat and his law firm Jones Walker, who has been

  retained by a criminal defendant charged in an expansive multi-defendant

  conspiracy. Here, the alleged disqualifying conflict does not arise from information

  that counsel received form a former client, but from the confidences that Mr. Shohat

  obtained from his former client’s brother during a pre-indictment representation that

  involved a Joint Defense Agreement (“JDA”). That representation concerned Mr.

  Shohat’s former client’s, Adolfo Ledo Nass (“brother 1”), and his brother’s, Alvaro

  Ledo Nass (“brother 2”), involvement in a 2018 criminal complaint relating to a

  bribery and money laundering conspiracy.       The Government now submits that,

  because brother 2 will testify about Mr. Vuteff’s role in that same bribery and money

  laundering scheme, the confidences that brother 2 shared with Mr. Shohat during

  that JDA preclude counsel from representing Mr. Vuteff in this case. And even

  though Mr. Shohat’s new client has fully waived any such potential conflict from his

  perspective, brother 2 has expressly refused to waive any conflict that he legally has

  standing to assert.

        The undersigned conducted four hearings to address the parties’ arguments

  and assess whether counsel should be disqualified from representing Mr. Vuteff due

  to Mr. Shohat’s involvement in the JDA. The Court’s inquiry during those hearings




                                            2
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 3 of 31




  included an in camera review of sealed affidavits submitted by brother 1 and brother

  2, JDA-related documents that were in Mr. Shohat’s possession, multiple

  government-issued ROIs, and the sealed testimony of brother 2. The relevant facts

  necessary to resolve this conflict question were established during these hearings and

  are virtually undisputed by Defendant. In relevant part, those facts are as follows.

        The 2018 criminal complaint alleged that the underlying conspiracy unfolded

  between December 2014 and 2018, culminating in the embezzlement of hundreds of

  millions of dollars from Petróleos de Venezuela, S.A. (“PDVSA”). See United States

  v. Convit Guruceaga, et al., 18-cr-20685-WILLIAMS (S.D. Fla. Aug. 16, 2018) [D.E. 3]

  (“The Williams Complaint”). As part of the conspiracy, the alleged perpetrators made

  bribery payments to Venezuelan officials (including brother 2) in return for

  orchestrating fraudulent loan transactions that facilitated the diversion of millions

  of dollars from PDVSA. Id. Additionally, in furtherance of the scheme, the involved

  individuals sought the assistance of financial services providers (including

  Mr. Vuteff) to conceal and access portions of their illegal proceeds through the use of

  international banking systems. Id.

        Brother 1 and brother 2 were anonymously identified in the 2018 criminal

  complaint (as was Mr. Vuteff). Thus, they both retained criminal defense counsel

  concerning those criminal allegations soon after they became public in July 2018.

  Brother 1 retained Mr. Shohat as defense counsel, and brother 2 retained David

  Oscar Markus. At the outset of the representation, the brothers insisted on pursuing

  a joint defense strategy, so brother 1 and brother 2—and their respective counsel




                                             3
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 4 of 31




  including Mr. Shohat—entered into an oral JDA around August 2018. Mr. Vuteff

  was never a party to this JDA.

        For the next five to six months, the brothers and their respective counsel had

  multiple meetings in Panama (at least two of which were full-day debrief and strategy

  meetings) plus several conference calls, where all aspects of the brothers’ alleged

  involvement in the scheme, including their relationships and contacts with the other

  parties identified in the 2018 complaint, were openly discussed with Mr. Shohat’s and

  Mr. Markus’ legal teams.       Ultimately, Mr. Shohat represented brother 1 for

  approximately eight months during 2018-2019 (before any charges were filed against

  him). Mr. Shohat was then discharged in early 2019 by brother 1. Mr. Markus, as

  counsel for brother 2, was also discharged at about the same time, both in favor of

  new substitute counsel.      No argument has been made that the reasons or

  circumstances behind counsel’s discharge at that time have any bearing on the issues

  presented here.

        Based on our in camera review of the documents and testimony provided

  during the evidentiary hearings, the Court is satisfied that, in the course of these

  joint-defense discussions, Mr. Shohat and his firm obtained confidential information

  from both brother 1 and brother 2. It is also clear that the confidences conveyed

  during the joint defense discussions by brother 2 to Mr. Shohat relate to and are

  materially adverse to his current client, Mr. Vuteff. It was further established during

  the evidentiary hearings that the subject matter of the brothers’ pre-indictment

  representation is substantially related to this criminal case against Mr. Vuteff, as




                                            4
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 5 of 31




  both complaints stem from the same criminal conspiracy. [D.E. 78 at 10:21–22]; [D.E.

  3].

           Mr. Vuteff was indicted by a federal grand jury in the Southern District of

  Florida on July 12, 2022, with one count of conspiring to launder money for his role

  in the PDVSA bribery and money laundering scheme. [D.E. 3, 10]. On February 24,

  2023, brother 2 was also charged by information with money laundering in connection

  with the PDVSA scheme. United States v. Ledo Nass, 23-cr-20089-WILLIAMS (S.D.

  Fla. Feb. 24, 2023) [D.E. 1]. On March 29, 2023, brother 2 pleaded guilty to that

  charge and agreed to cooperate with the Government, including agreeing to testify at

  any hearings or trials.     Id. at [D.E. 13, 15].   Consistent with that cooperation

  agreement, brother 2 will be a witness for the Government at Mr. Vuteff’s criminal

  trial.

           On July 14, 2022, Mr. Shohat entered a temporary appearance in this case as

  counsel for Mr. Vuteff, along with two other lawyers from his firm Jones Walker, and

  on October 24, 2022, Mr. Shohat filed an appearance for trial only. [D.E. 12, 35]. On

  that same day, the Government filed the current motion to disqualify Mr. Shohat as

  counsel for Mr. Vuteff based on the alleged conflict of interest that arises from his

  prior representation of brother 1 and his corollary participation in the JDA with

  brother 2. [D.E. 37].

           Neither brother has waived any conflict of interest to allow Mr. Shohat to

  represent Mr. Vuteff after Mr. Shohat’s prior representation of brother 1, and his

  receipt of confidential information from brother 2 as a participant in the JDA.




                                             5
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 6 of 31




  [D.E. 61, 62]. In addition, brother 1 has not consented to Mr. Shohat revealing

  information relating to his representation, nor has brother 2 consented to Mr. Shohat

  revealing information that Mr. Shohat learned during the JDA. Id.

                    II.   APPLICABLE PRINCIPLES OF LAW

        “The right to conflict-free counsel is included in the Sixth Amendment right to

  effective assistance of counsel.” United States v. Gutierrez, No. 10–80083–CR, 2010

  WL 3769448, at *2 (S.D. Fla. Aug. 3, 2010) (citing Duncan v. Alabama, 881 F.2d 1013,

  1017 (11th Cir. 1989)). “In determining whether to disqualify a defendant’s counsel,

  a court must balance the right to counsel of defendant’s choice with the defendant’s

  right to a conflict-free attorney.” Id. (citing Wheat v. United States, 486 U.S. 153,

  162–63, 108 S.Ct. 1692, 100 L.Ed.2d 140 (1988)). Thus, a defendant’s right to counsel

  of choice is not absolute. United States v. Ross, 33 F.3d 1507, 1522–23 (11th Cir.

  1994). “The need for fair, efficient, and orderly administration of justice overcomes

  the right to counsel of choice where an attorney has an actual conflict of interest, such

  as when he has previously represented a person who will be called as a witness

  against a current client at a criminal trial.” Id.

        To decide if a conflict warrants disqualification, the court must examine

  whether the subject matter of the first representation is substantially related to that

  of the second. Id. at 1523. The examination pursues “to discover whether the defense

  lawyer has divided loyalties that prevent him from effectively representing the

  defendant.” Id. Disqualification may be proper if a conflict could deter an attorney

  “from intense probing of the witness on cross-examination to protect privileged




                                              6
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 7 of 31




  communications with the former client or to advance the attorney’s own personal

  interest.” Id. Further, if one attorney in a law firm has a conflict of interest, this

  conflict is imputed to all attorneys in the firm. Id.

        In cases where an actual conflict would subject an attorney to disqualification,

  a client may waive this conflict, so long as the waiver is knowing, intelligent and

  voluntary. Id. at 1524. However, even if all affected clients waive a conflict of

  interest, a district court may, in its discretion, disqualify the conflicted counsel. See

  Wheat, 486 U.S. at 160, 162. This is because “[f]ederal courts have an independent

  interest in ensuring that criminal trials are conducted within the ethical standards

  of the profession and that legal proceedings appear fair to all who observe them.” Id.

  at 160. Therefore, district courts have “substantial latitude” to refuse a waiver “not

  only in those rare cases where an actual conflict may be demonstrated before trial,

  but in the more common cases where a potential for conflict exists which may or may

  not burgeon into an actual conflict as the trial progresses.” Id. at 163.

        Moreover, pursuant to Rule 11.1(c) of the Local Rules for the Southern District

  of Florida, “[t]he standards of professional conduct of members of the Bar of this Court

  shall include the current Rules Regulating the Florida Bar.” The following two Rules

  are particularly relevant to the issue before us: Rule 4–1.6 and Rule 4–1.9. Rule 4–

  1.6 provides that lawyers must not reveal confidential information without informed

  consent:

        (a) Consent Required to Reveal Information. A lawyer must not reveal
        information relating to representation of a client except as stated in
        subdivisions (b), (c), and (d), unless the client gives informed consent.




                                              7
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 8 of 31




  Fla. Bar R. of Prof’l Responsibility R. 4-1.6(a).

        Rule 4–1.9 of the Florida Bar’s Rules of Professional Conduct provides:

        A lawyer who has formerly represented a client in a matter shall not
        thereafter:

            (a) represent another person in the same or a substantially
            related matter in which that person’s interests are materially
            adverse to the interests of the former client unless the former
            client gives informed consent; or

            (b) use information relating to the representation to the
            disadvantage of the former client except as these rules would
            permit or require with respect to a client or when the
            information has become generally known; or

            (c) reveal information relating to the representation except as
            these rules would permit or require with respect to a client.

                                  III.   ANALYSIS

        As noted above, this Court’s in camera review of the evidence and testimony

  presented by the parties established: (i) that the pre-indictment representation of

  brother 1 and brother 2 concerned a subject matter that is substantially related to

  this criminal case against Mr. Vuteff; (ii) that Mr. Shohat was privy to confidential

  information from brother 1 and brother 2 during the multiple joint defense meetings;

  and (iii) that the confidences that Mr. Shohat obtained by virtue of his participation

  in the JDA directly relate to and are materially adverse to Mr. Vuteff. These facts

  are undisputed.

        Notwithstanding the above, Mr. Vuteff submits that disqualification of

  Mr. Shohat and his law firm is unwarranted in this case.       This is so because, in

  Defendant’s view, brother 2 has waived any applicable duty of confidentiality that




                                              8
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 9 of 31




  may have attached to Mr. Shohat during the JDA. Defendant’s argument is twofold:

  first, he argues that under the Eleventh Circuit’s holding in United States v. Almeida,

  341 F.3d 1318 (11th Cir. 2003), brother 2 waived his JDA confidentiality privilege as

  to Mr. Shohat and Mr. Vuteff once he became a government witness; second, and in

  the alternative, Mr. Vuteff submits that brother 2 waived any claim of privilege in

  the subject-matter of his communications with Mr. Shohat during the JDA by virtue

  of his participation in these disqualification proceedings. [D.E. 42 at 10–13, 84 at 4–

  7]. Finally, Mr. Vuteff adds that, even if this Court finds that a confidentiality

  privilege applies, any conflict of interest arising from Mr. Shohat’s participation in

  the JDA can be sufficiently mitigated by using independent counsel to handle brother

  2’s cross-examination at trial. As we explain below, Defendant’s arguments are

  ultimately not persuasive.

         A.    Fiduciary Duties Arising From Joint Defense Agreements

        The parties agree that the scenario presented in this record is unique. But in

  identifying the few cases that have encountered this issue, a general rule emerges.

  That rule provides that disqualification may be warranted even where no direct

  attorney-client relationship exists between the party seeking the disqualification and

  the attorney whose disqualification is sought. In a situation involving a joint defense

  agreement, a former co-defendant of an attorney’s client may seek disqualification of

  that attorney in a subsequent suit if (1) the attorney is now representing an adversary

  of the former co-defendant, (2) if the matters are substantially related and (3) if

  confidential information was exchanged during the prior action. This rule follows




                                            9
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 10 of 31




   from binding precedent in this circuit, that has been adopted by other circuits. See

   Wilson P. Abraham Construction Corp. v. Armco Steel Corp., 559 F.2d 250, 253 (5th

   Cir. 1977), cited in United States v. Henke, 222 F.3d 633 (9th Cir. 2000); see, e.g., All

   Am. Semiconductor, Inc. v. Hynix Semiconductor, Inc., No. C 07–1200, 2008 WL

   5484552, at *4-5 (N.D.Cal. Dec. 18, 2008); Cochran v. Five Points Temporaries, LLC,

   No. 2:10-CV-3522-SLB, 2012 WL 4726285, at *8 (N.D. Ala. Sept. 27, 2012) (noting

   that “some courts have held that, in a situation involving a joint defense agreement,

   a former co-defendant of an attorney’s client may seek disqualification of that

   attorney in a subsequent suit where the attorney is now representing an adversary

   of the former co-defendant”).

         In our circuit precedent, Armco Steel, the court held that when information is

   exchanged between co-defendants and their attorneys, an attorney who has received

   such information owes a fiduciary duty to non-client co-defendants not to use the

   information in a later representation of another client to the detriment of the co-

   defendants from the previous suit. 559 F.2d at 253. The court acknowledged that

   there is no presumption that confidential information was exchanged when each

   party is represented by their own counsel (unlike the presumption that follows for

   dealings with one’s own counsel). Instead, when a co-defendant’s counsel is involved,

   the burden is on the party moving to disqualify to show that confidential information

   had in fact been disclosed to the attorney during the earlier cooperative defense and

   that the matters were substantially related. Id. The court reasoned:

         Just as an attorney would not be allowed to proceed against his former
         client in a cause of action substantially related to the matters in which



                                              10
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 11 of 31




         he previously represented that client, an attorney should also not be
         allowed to proceed against a co-defendant of a former client wherein the
         subject matter of the present controversy is substantially related to the
         matters in which the attorney was previously involved, and wherein
         confidential exchanges of information took place between the various co-
         defendants in preparation of a joint defense.

   Id. The Fifth Circuit remanded the case to the district court for factual findings

   focusing on whether the two matters were substantially related and whether

   confidential information was exchanged during the previous joint defense. Id.

         Similarly, in All American Semiconductor, a California district court

   disqualified a plaintiff's attorney due to a conflict of interest where the attorney had

   received confidential information about the defendant in the current suit in the

   course of representing the plaintiff in a prior joint defense agreement. 2008 WL

   5484552, at *7. The court explained:

         [A] conflict of interest may be created when, as here, an attorney
         (Vandevelde [current plaintiff's attorney]) has acquired confidential
         information about a non-client (Infineon [the current defendant]) in
         connection with his representation of a client (Hefner), such as when an
         attorney obtains confidential information about a co-defendant of a
         client during a joint defense of an action. Indeed, contrary to plaintiffs'
         contention, the fact that Vandevelde and Infineon never had an
         attorney-client relationship is not determinative of whether
         disqualification of [plaintiffs' law firm] is appropriate because an
         attorney's receipt of confidential information from a non-client may lead
         to the attorney's disqualification.

   Id. at *6 (internal quotation marks and citations omitted). Relying on Armco Steel

   Corp., the court found that “Vandevelde’s participation in the [joint defense

   agreement] and receipt of confidential information from Infineon during the joint

   defense created an expectation on the part of Infineon that this information would be

   kept confidential. This was a reasonable expectation, particularly given that the JDA



                                             11
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 12 of 31




   contained a confidentiality provision.” Id. at *7. Accordingly, the court held that

   Vandevelde was disqualified from representing the plaintiffs against Infineon, a co-

   defendant under the joint defense agreement in a prior case. Id.

         This recognition that fiduciary duties can arise from communications

   undertaken in joint defense arrangements can also be found in a 1995 formal ethics

   opinion from the American Bar Association. This Opinion supports the view that an

   attorney owes a fiduciary duty not to betray the confidences of the former co-

   defendant of his client, which duty may also require disqualification. The ABA

   Opinion addresses the situation of a lawyer who had represented one member of a

   joint defense group and then, after changing law firms, was asked to represent a new

   client against a different member of the original joint defense group. The ABA stated

   the following:

         [T]o the extent that Lawyer had acquired in the course of the prior
         representation information confidential to other members of the
         consortium, he might owe an obligation to his former client not to
         disclose the information by reason of the former client’s obligation to the
         other members. However, ... if [the former client] did give consent [to the
         representation], there would be presented the question whether Lawyer
         had any obligation directly to other members of the consortium, who
         were not his clients but from whom he received information pursuant to
         an undertaking of confidence. In those circumstances, Lawyer would
         almost surely have a fiduciary obligation to the other members of the
         consortium, which might well lead to his disqualification. See Wilson P.
         Abraham Construction Corp. v. Armco Steel Corp., 559 F.2d 250, 253
         (5th Cir.1977).


         This fiduciary obligation is said to arise from the law of agency (the lawyer

   having been a sub-agent of the client who in turn was the agent of the co-defendant

   with whom the confidential information is shared), rather than from the law



                                             12
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 13 of 31




   governing lawyers. “[The lawyer] would not, however, owe an ethical obligation to

   them, for there simply is no provision of the Model Rules imposing such an

   obligation.” ABA Comm. on Ethics & Prof'l Responsibility, Formal Op. 95–395 (1995)

   (emphasis added).

         Based on the logic of the ABA opinion that follows the Eleventh and Ninth

   Circuit’s application of the rule in these situations, Mr. Shohat does not owe an ethical

   obligation to brother 2 because he never represented brother 2 directly at the time he

   represented brother 1. Indeed, no one has accused Mr. Shohat of committing any

   ethical violation, and the Court finds in fact that the record shows to the contrary.

   Mr. Shohat has at all times been open as to his dealings with brother 2 and fully

   cooperative in the proper resolution of the matter before the Court. As the ABA put

   it, this is not an ethical issue; it is, however, a legal issue that arises from implied

   fiduciary obligations to brother 2 if confidential information was shared under the

   joint defense agreement and the matter involved a substantially related matter (in

   this case the same matter). That duty cannot be extinguished in this case simply

   because Mr. Shohat’s current client waives any potential or actual conflict, nor

   because Mr. Shohat sincerely believes he can compartmentalize any confidential

   knowledge he has from brother 2 in his representation of this Defendant.

         The crux of the problem we face is that it is undisputed that Mr. Shohat learned

   confidential information from brother 2.        And now he seeks to represent a co-

   defendant in the same case who is undoubtedly adverse now to the interests of

   brother 2. This presents a situation that warrants the Court protecting those implied




                                              13
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 14 of 31




   fiduciary duties and preserving those confidences by requiring Defendant to retain

   substitute counsel in this case.

         Mr. Shohat contends that the appropriate remedy here is simply to retain

   substitute counsel who will be in charge of cross-examining brother 2 at trial and

   overseeing that part of the defense case. Yet, cross-examination and impeachment is

   not the only concern. After all the same confidences that brother 2 is seeking to

   preserve include those that Mr. Shohat’s direct client, brother 1, is also entitled to

   protect. It is hard to see how from the inception of his representation for this new

   client Mr. Shohat has been able to completely isolate in his mind facts or strategies

   that were discussed in those early meetings in Panama. Wittingly or unwittingly,

   there is a present risk that those confidences have infected the strategies and theories

   that Mr. Shohat has already formulated for Defendant, even if he consciously believes

   he did not convey any “confidential information” in the process. It is naïve to conclude

   that Mr. Shohat’s representation of this Defendant has been entirely divorced from

   what Mr. Shohat learned from brother 1 and brother 2 during those privileged

   discussions. That alone is material prejudice that warrants disqualification at this

   stage because damage may have already taken place from the former clients’

   perspective.

         Disqualification is also the most appropriate remedy given that the case

   against the Defendant is still in its infancy and he has not yet been arraigned. There

   is thus no irreparable prejudice in precluding Mr. Shohat from representing him for

   the rest of the case.     The appropriate remedy under these circumstances is




                                             14
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 15 of 31




   disqualification because the same concerns that are presented with an actual conflict

   from prior representation are present here:

         If the conflict could cause the defense attorney improperly to use
         privileged communications in cross-examination, then disqualification
         is appropriate. Indeed, it is also true that disqualification is equally
         appropriate if the conflict could deter the defense attorney from intense
         probing of the witness on cross-examination to protect privileged
         communications with the former client or to advance the attorney’s own
         personal interest. In short, the court must protect its independent
         interest in ensuring that the integrity of the judicial system is preserved
         and that trials are conducted within ethical standards.

   United States v. Ross, 33 F.3d at 1523 (affirming order disqualifying counsel because

   “defense counsel could either have tread dangerously close to confidential matters in

   attempting to explain this transaction [here between brother 2 and Vuteff] or,

   alternatively, could have improperly avoided related issues.”).

          B.    Almeida Does Not Control This Case

         The gravamen of Defendant’s argument to the contrary is that a waiver of

   brother 2’s confidences as to Mr. Shohat has taken place. To establish this, Defendant

   first relies heavily on the Eleventh Circuit’s ruling in Almeida, where the court held

   that a defendant who withdrew from a JDA to turn “state witness” against his former

   joint defense partner, waived the confidentiality privilege that applied to the

   communication held during the joint defense meetings between the parties and their

   respective counsel. Almeida, 341 F.3d at 1323.

         According to Defendant, the Almeida holding should not be limited to

   situations wherein a member of a JDA abandons the orbit of the joint legal effort to

   cooperate with the government against his former joint defense partners. Instead,




                                             15
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 16 of 31




   Defendant suggests that Almeida stands for the broader proposition “that it would be

   wrong as a matter of policy to allow a former JDA member to hide behind the

   attorney-client privilege once he has agreed to [cooperate] and to testify against his

   former accomplices,” irrespective of whether those former accomplices were members

   of the JDA. [D.E. 42 at 10]. We disagree with Defendant’s sweeping reading of

   Almeida because Defendant’s construction of the case goes beyond the opinion’s own

   holding and is inconsistent with binding—and on point—Fifth/Eleventh Circuit

   precedent.

         Almeida implicated two defendants (Almeida and Fainberg) who were accused

   of conspiring to distribute cocaine. Recognizing the advantages of pooling their legal

   efforts, they decided to enter into an oral JDA, with each individual being represented

   by his respective counsel. Almeida, 341 F.3d at 1320. However, approximately one

   month before trial, and after countless communications between the parties and their

   lawyers, Fainberg withdrew from that united front and turned state witness against

   Almeida. Id. Despite having withdrawn from the JDA and having assumed a legal

   posture that was adverse to that of former joint defense partner, Fainberg invoked

   the attorney-client privilege as to Almeida and his defense team.        According to

   Fainberg, the joint defense communications were privileged and, as such, Almeida

   and his legal team were precluded from using them against Fainberg in any way at

   Almeida’s trial. Id. Agreeing with Fainberg, the district court barred Almeida and

   his counsel from using any of the information obtained from Fainberg during the joint

   defense meetings at trial. Id. at 1322. Almeida was convicted.




                                             16
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 17 of 31




         On appeal, the Eleventh Circuit reversed, holding “that the [district] court

   abused its discretion when it precluded Almeida from utilizing the communications

   that Fainberg made to Almeida’s attorneys while operating under the joint defense

   agreement.” Id. at 1323 (emphasis added). While the court recognized that a duty of

   confidentiality does in fact arise in the context of JDAs as to other members of the

   joint defense and their counsel, the court also noted that certain exceptions can apply

   to this privilege. Id. at 1324–26. The court then held that one such exception, as

   illustrated by Fainberg’s acts, occurs when a party to the JDA chooses to abandon the

   orbit of that united front to become a witness for the state against his former JDA

   partner. Id.

         Defendant disagrees with this narrow reading of Almeida, suggesting instead

   that the holding squarely applies to the situation at hand: that is, where a JDA

   member testifies for the government against a party who was never part of the joint

   defense. Several factors lead us to reject this view.

         First, we read the scope of Almeida’s holding as expressly tailored to situations

   involving members and former members of a JDA. That was the factual scenario

   presented to the court, and nothing on that record suggests that the panel intended

   to go beyond that scenario. Indeed, the very holding of the opinion is prefaced by an

   express allusion to this factual requirement. See id. at 1326 (“We hold that when

   each party to a joint defense agreement is represented by his own attorney, and when

   communications by one co-defendant are made to the attorneys of other

   co-defendants, such communications do not get the benefit of the attorney-client




                                             17
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 18 of 31




   privilege in the event that the co-defendant decides to testify on behalf of the

   government in exchange for a reduced sentence.”). See also id. at 1323 (“we hold that

   the court abused its discretion when it precluded Almeida [a party to the JDA] from

   utilizing the communications that Fainberg made [during the JDA]”). This is also

   how other courts have interpreted Almeida. See, e.g., Cochran v. Five Points, 2012

   WL 4726285, at *8 (“Almeida addressed the effect of a co-defendant’s decision to

   defect from the joint defense agreement on the status of the joint defense privilege,

   holding that the defendant’s decision to defect renders that defendant’s

   communications to the co-defendant’s attorney no longer privileged. The case did not

   address the situation presented here . . . “).

         Second, the court’s discussion of the justifications for recognizing implicit

   waivers of the joint defense privilege only reenforces the notion that the ruling was

   restricted to cases involving individuals who are or were part of the JDA. Among

   other things, the Almeida court cited to Fifth Circuit precedent, state court rulings,

   and treatises that uphold the concept of waiver grounded on the theory that the

   protections that emanate from a shared common interest are inherently nullified

   when the parties become engaged in controversy with one another and their interests

   cease to be aligned. See, e.g, Almeida, 341 F.3d at 1324–25 (“it is clear that the

   privilege becomes inapplicable” when the two persons “become engaged in

   controversy”) (citing Jones v. State, 65 Miss. 179, 184, 3 So. 379, 380 (1888) (“The

   reason for maintaining such privilege ceases when one has voluntarily exposed

   himself by his own testimony to the very consequences from which it was intended




                                               18
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 19 of 31




   by the privilege to protect him.”)). In other words, these rationales justify waiver on

   the basis that, when parties who share a joint legal interest undermine the objectives

   of their united effort, the protections designed to support the pursuit of their shared

   legal goal are voided.

         With these principles in mind, we find it hard to agree with Defendant that

   Almeida’s waiver squarely applies to the case at hand. Unlike Almeida, Mr. Vuteff

   was never a party to the JDA between the brother and their lawyers, nor was

   Mr. Vuteff an intended beneficiary of the joint defense. Moreover, the available

   record is devoid of any evidence suggesting that the JDA between brother 1 and

   brother 2 ever ceased to exist, that their interests do not remain aligned, or that there

   are any prospects of divergence of interests between the two of them in the future.2

   There is also no evidence suggesting that either brother 1 or brother 2 have disclosed

   any of their confidential communications with Mr. Shohat to the Government’s trial

   team. Therefore, we are hard pressed to find that Fainberg’s defection from the JDA

   and his betrayal of Almeida is analogous or applicable to our case, where the only

   relevant individual who could be deemed to have departed the JDA—and now in




   2 Indeed, the Government highlighted in its submissions and during hearings that

   the opposite is true and noted that there is a distinct possibility that brother 1 will
   join brother 2 in testifying against Mr. Vuteff at his trial. While the Government
   conceded that brother 1 does not have knowledge of Vuteff’s direct involvement in the
   scheme, brother 1 does possess knowledge over other aspects of the bribery and
   money laundering scheme.


                                              19
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 20 of 31




   pursuit of an interest that is adverse to the brothers’ joint defense effort—is

   Mr. Shohat.3

         All these reasons, paired with the fact that Almeida was not a disqualification

   case, and that the panel in Almeida appears to expressly limit its ruling to the facts

   of the case, leads us to conclude that Defendant’s reliance on Almeida is misplaced.

   See Almeida, 341 F.3d at 1326 n.20 (refusing to address whether accomplices always

   waive privilege when they testify on behalf of the government because “[t]he facts of

   this case [] do not require us to establish such a sweeping rule.”); id. at n.21

   (emphasizing that parties to joint defense agreements should memorialize their

   agreements in writing to ensure they understand how waiver applies as to them).

   This same reasoning applies to Defendant’s reliance on United States v. Wings, No.

   1:05-CR-316-20-BBM, 2007 WL 9676968, (N.D. Ga. Aug. 10, 2007), a case involving

   a state witness who defected a JDA to testify against his former joint defense

   partner.4


   3 Defendant’s counsel raised multiple hypotheticals at the hearing and in his briefs

   suggesting that this reading of Almeida is illogical, but his hypotheticals are actually
   consistent with our holding. [D.E. 84 at 8 n.3]. For instance, he points out that if the
   Government were prosecuting brother 1 and Mr. Vuteff jointly, with brother 2
   testifying against both of them, then it would be illogical to allow counsel for brother
   1 to cross-examine brother 2 but to prevent Mr. Shohat from doing the same. We
   agree. The obvious flaw in Mr. Vuteff’s hypothetical is that, in such a case, by taking
   action against his former joint defense partner, brother 2 would be defecting from the
   JDA and undermining its intended purpose of pursuing a joint legal objective. That
   is simply not the fact pattern here.
   4 Actually, contrary to Mr. Vuteff’s claim, the court in Wings appears to agree with

   our reading of Almeida: “The Eleventh Circuit has plainly held that once a defendant
   agrees to turn state’s evidence, he has voluntarily surrendered any [of] the
   protections of attorney-client privilege, at least as to counsel of a co-defendant with



                                             20
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 21 of 31




         Instead, we find that this case is subject to the controlling Eleventh Circuit

   precedent discussed earlier, which establishes that attorneys who gain access to

   confidential information in the context of JDAs are restricted from proceeding against

   other members of the joint defense in substantially related matters. See, e.g., Armco

   Steel Corp., 559 F.2d at 251.5 As stated earlier, much as in our case, in Armco Steel

   the alleged conflict of interest originated not from the lawyer’s prior client but from

   the confidences shared by the client’s co-defendant during joint defense sessions. See

   id. at 251, 253. Agreeing with the movants’ contention that joint defense discussions

   in a conspiracy case are privileged and made for the exclusive purpose of furthering

   the joint parties’ common cause, the court agreed that “[i]n such a situation, an

   attorney who is the recipient of such information breaches his fiduciary duty if he

   later, in his representation of another client, is able to use this information to the

   detriment of one of the co-defendants.” Id. at 253.

         Similarly, a district court in All Am. Semiconductor, which followed Ninth

   Circuit precedent that had approved of the analysis in Armco Steel, disqualified

   plaintiffs’ counsel on the basis that a partner at that law firm (Vandevelde) had

   obtained confidential information from a former client’s co-defendant (Infineon) in

   the context a joint defense agreement.         All Am. Semiconductor, Inc., 2008 WL



   whom he had a joint defense agreement.”               Wings, 2007 WL 9676968 at *4.
   (emphasis added).
   5 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981) (en banc), the

   Eleventh Circuit adopted as binding precedent all decisions of the former Fifth
   Circuit handed down prior to October 1, 1981.




                                             21
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 22 of 31




   5484552. The All Am. Semiconductor court ordered disqualification despite the fact

   that neither the subject law firm nor Vandevelde had ever had an attorney-client

   relationship with Infineon, the subject law firm had preemptively “walled-off”

   Vandevelde from all contacts with the case, and the JDA expressly provided that

   Infineon waived its rights to seek disqualification based upon Vandevelde’s

   participation in the JDA.     Id. at *3-7 (“a joint defense agreement can create a

   disqualifying conflict where information gained in confidence by an attorney becomes

   an issue.”) (citing United States v. Henke, 222 F.3d at 637).

         We find this line of cases, rather than Almeida, applicable to the question at

   hand, and hold that, consistent with these legal principles, the disqualification of Mr.

   Shohat and his law firm is warranted in this case. As noted above, the available

   record reflects that Mr. Shohat was privy to confidences in the course of the JDA

   between his former client and brother 2; that the information that brother 2 relayed

   to Mr. Shohat during these joint defense meetings relates to and is materially adverse

   to Mr. Shohat’s current client; that Mr. Shohat’s client was never a party to the JDA;

   that the JDA between brother 1 and brother 2 remains in effect; that the only relevant

   party who has departed the brothers’ unified front is Mr. Shohat; that brother 2, and

   potentially brother 1, will testify against Mr. Shohat’s client in this case; and that

   neither brother has waived any conflict of interest arising from Mr. Shohat’s

   representation of brother 1 or his corollary participation in the brothers’ JDA. In

   view of these facts, we find it appropriate to disqualify counsel.




                                              22
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 23 of 31




         Mr. Vuteff objects, pointing out that cases such as Armco Steel involved civil

   litigation that did not implicate a criminal defendant’s Sixth Amendment right to

   counsel of choice, unlike the present case. Yet, that argument misses the mark

   because, as previously mentioned, both the Supreme Court and the Eleventh Circuit

   have unambiguously found that this Sixth Amendment right “is curtailed ‘where a

   court justifiably finds an actual conflict of interest’ or ‘where a potential for conflict

   exists which may or may not burgeon into an actual conflict as the trial progresses.’”

   United States v. Schneider, 322 F. Supp. 3d 1294, 1299 (S.D. Fla. 2018), aff'd, 853 F.

   App'x 463 (11th Cir. 2021) (quoting Wheat, 486 U.S. at 162–64).

         Indeed, the Eleventh Circuit has recognized that the right to counsel of choice

   should be set aside when the proper, efficient, and orderly administration of justice

   is undermined by the serious prospects of the improper use of confidential

   information. This includes situations where the right to counsel of choice is in direct

   conflict with defendant’s Sixth Amendment rights to conflict-free counsel. See Ross,

   33 F.3d at 1523 (“If the conflict could cause the defense attorney improperly to use

   privileged communications in cross-examination, then disqualification is appropriate.

   . . . In short, the court must protect its independent interest in ensuring that the

   integrity of the judicial system is preserved and that trials are conducted within

   ethical standards.”). And the Court is also cognizant that it is not just Vuteff’s right

   to counsel that is implicated. The Court’s obligation is also to enforce brother 1 and

   brother 2’s right to counsel as well, which includes the right to unfettered

   communications with counsel engaged in joint defense strategy meetings.              The




                                              23
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 24 of 31




   Court’s Order here is thus designed to balance Mr. Vuteff’s Sixth Amendment rights

   with those of Mr. Shohat’s earlier clients – brother 1 and brother 2. That balance

   tips strongly in favor of disqualification.

         As noted above, a showing of actual (as to brother 2) and potential (as to

   brother 1) conflict has been made here. There are not only significant concerns

   regarding the potential use, whether explicit or implicit, of confidential information

   obtained during the JDA by Mr. Shohat or his team in their preparation of

   Mr. Vuteff's defense, but there is also the parallel risk that Mr. Vuteff's right to

   conflict-free counsel may be compromised by the counsel’s efforts to avoid any breach

   of the confidentiality privilege.

         Plus, the serious risks of the improper use of confidential information, coupled

   with the infancy of this representation, also weigh in favor of disqualification. At this

   point early in this proposed representation Mr. Shohat and Mr. Vuteff have not spent

   “hundreds of hours preparing for the case”, have not “hired jury consultants” and

   “financial analysts”, nor have they “been through every single piece of paper in

   discovery for this case.” Wings, 2007 WL 9676968 at *2. As the Government points

   out, discovery in this case has not even begun, and once discovery ensues the potential

   for deeper conflict or new conflicts will only increase. Considering the existing and

   potential conflicts that have been identified thus far, there is minimal justification

   for continuing with a representation that poses such a significant risk of encountering

   further disqualification issues later in discovery or at trial, when the harm to the

   defendant, the prosecution, and the court will only be greater. Accordingly, we are




                                                 24
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 25 of 31




   compelled to uphold our “independent interest in ensuring that the integrity of the

   judicial system is preserved and that trials are conducted within ethical standards,”

   and order the disqualification of Mr. Shohat and Jones Walker from this case. See

   also United States v. Cordoba, No. 12-20157-CR, 2013 WL 5741834, at *12 (S.D. Fla.

   Oct. 17, 2013) (“Even if the Court found that an actual conflict of interest did not exist

   in this case, the facts adduced at the four hearings on this matter, coupled with the

   pleadings filed by the parties, also support disqualification [] based on a finding of a

   serious potential conflict of interest. The actual conflict of interest in this case is

   palpable; there are a myriad of potential conflicts of interest as well.”).

           Mr. Vuteff again insists that we can avoid disqualification in this case by

   allowing his counsel to introduce an independent lawyer to handle brother 2’s (or

   potentially brother 1’s) cross-examination at trial. We are unpersuaded. Florida

   courts have not embraced the use of such “ethical wall” measures as an adequate

   remedy for curing conflicts of interest. Instead, the law in our district is that “if one

   attorney in a firm has an actual conflict of interest, we impute that conflict to all the

   attorneys in the firm, subjecting the entire firm to disqualification.” Ross, 33 F.3d at

   1523.

           Moreover, and as the Government rightly points out, invitations to adopt

   independent counsel have been flatly rejected in cases where the potentially

   aggrieved parties refuse to waive any potential conflict, which brother 1 and brother

   2 have done here. See, e.g., Cordoba, 2013 WL 5741834 at *12 (“The use of second

   counsel to handle Mr. Cambara’s cross-examination is an imperfect and ineffective




                                              25
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 26 of 31




   solution, especially where Mr. Cambara expressly objects to such an arrangement.”);

   United States v. Miranda, 936 F. Supp. 945, 952 (S.D. Fla. 1996) (“Given Lopez’s non-

   consent to Shohat’s representation of Miranda, and the Court’s determination of the

   existence of an actual conflict of interest, permitting the use of back-up counsel” as

   an “alternative to disqualification [is] inappropriate for this case”).

         Considering the nature of the conflicts in this case, and that neither brother

   has consented to the independent counsel solution, we disagree with Defendant’s view

   that disqualification can be avoided here with the introduction of independent

   counsel for the purposes of cross-examination.

          C.    Subject-Matter Waiver Has Not Taken Place

         Defendant alternatively argues that, even if Almeida’s waiver does not apply

   to this case, brother 2 has effectively waived his claim to privilege under the sword

   and shield waiver doctrine by virtue of his participation in these disqualification

   proceedings. Specifically, Defendant argues that this court should determine that

   brother 2 has waived any privilege pertaining to the content of his joint defense

   communications with Mr. Shohat, given his submission of a sealed affidavit and his

   in camera testimony in support of the Government’s motion to disqualify. [D.E.

   84_at_5–7]. We find Defendant’s waiver arguments also unpersuasive.

         Defendant’s argument relies primarily on the holding of QBE Ins. Corp. v.

   Jorda Enterprises, Inc., 286 F.R.D. 661 (S.D. Fla. 2012), where the court ruled that a

   party contesting a motion for Rule 11 sanctions could not utilize privileged

   communications to strengthen its response without simultaneously waiving the




                                              26
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 27 of 31




   privilege associated with those communications. On the face of that holding, the

   disconnect between that situation and ours is plain to see.

         For starters, we disagree with the proposition that QBE’s waiver by voluntary

   disclosure rule is applicable in the context of these disqualification proceedings,

   which seek to uphold mandatory ethical standards—as opposed to pursuing

   affirmative relief—and where the very crux of the inquiry concerns the nature and

   extent of the privileged communications to which counsel was exposed. Indeed, this

   view finds support in QBE’s ruling, where the court’s analysis hinged on the central

   point that “a party is under no obligation to disclose privileged information during a

   Rule 11 proceeding. Instead, it has the opportunity to decide whether to make such

   a disclosure.” QBE Ins. Corp., 286 F.R.D. at 665.

         In our case, by contrast, the very essence of the disqualification inquiry—

   whether the communications to which Mr. Shohat was privy in the course of the JDA

   raised a conflict—required the examination of privileged communications, and the

   privileged materials were produced for in camera review pursuant to an order from

   the undersigned.

         Additionally, it was Mr. Shohat who requested an evidentiary hearing from

   the very beginning of the proceedings, as he expressly objected to the Government’s

   motion on the basis that the affidavits in support were factually insufficient, that the

   relevant confidences did not amount to material adversity, and that this court could

   not make the required factual findings to disqualify him in the absence of some sort




                                             27
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 28 of 31




   of direct testimony from and examination of brother 2.6 [D.E. 77 at 4:7–10, 21:23–

   23:8, 32:16–20], [D.E. 78 at 77:12–20, 105:7–22]. Thus, Defendant’s suggestion that

   QBE’s unilateral, voluntary, and unnecessary introduction of privileged materials

   bears any resemblance to our case is legally unfounded. See, e.g., Fla. House of

   Representatives v. U.S. Dep't of Com., 961 F.2d 941, 946 (11th Cir. 1992) (“We find it

   difficult to characterize the court-ordered disclosure of the data in City of New York

   as a voluntary waiver of the Department’s privilege in light of the court order”);

   Bittaker v. Woodford, 331 F.3d 715, 720 (9th Cir. 2003) (“Because these express

   waiver cases do not involve the court-ordered disclosure of privileged information . . .

   we do not find them particularly useful in ascertaining the scope of Bittaker’s waiver

   of his attorney-client privilege under the fairness principle.”).

         Finally, Defendant’s other theory, that the pre-hearing statements in brother

   2’s affidavit also amount to a subject matter waiver, also lacks merit. As noted above,

   the Government’s motion relied on sealed affidavits filed by both brothers. [D.E. 62-

   1]. According to Defendant, the statements in brother 2’s affidavit, particularly those

   in paragraph seven, go beyond the articulation of mere topics and effectively amount

   to subject matter waiver. Yet a plain reading of the affidavit contradicts Defendant’s

   construction.   In relevant part, the affidavit states that: “[a]mong the topics

   discussed, there was a mention about all possible people and activities involved in




   6 Accordingly, the Court ordered the appearance of brother 2 at the May 2, 2023,

   hearing where he testified under seal and in the presence of filter lawyers for both
   parties. During that portion of the hearing, the trial teams for both the Government
   and Defendant were excluded from the courtroom.


                                              28
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 29 of 31




   this investigation, including Ralph Steinmann and Fernando Vuteff. Discussed were

   my interactions, and any possible relationships or knowledge of facts that were

   pertinent in the litigation involving these gentlemen.” [D.E. 62-1]. We simply fail to

   discern how this two-sentence statement reveals anything beyond the general topics

   of brother 2’s JDA discussions, or how it comes close to waiving the privilege of all

   joint defense communications concerning Mr. Vuteff.

         In sum, we hold that neither brother 1 nor brother 2 has waived the

   confidentiality privilege that attached to their JDA discussions with Mr. Shohat and,

   as such, Mr. Shohat and his law firm’s representation of Mr. Vuteff raise actual and

   potential conflicts of interest that warrant disqualification.

         One final but important point. It is certainly not the intent of this Order to

   foreclose or prevent parties and counsel from entering into joint defense agreements

   in multi-defendant criminal cases. To the contrary; joint defense agreements have a

   necessary purpose by allowing counsel to pool their resources in complex cases

   against the power of the federal government. But that beneficial purpose implicates

   important judicial interests that must be safeguarded. And one such important

   interest is illustrated by the circumstances involved here. A criminal defendant will

   conclude that defense counsel pursuing a common interest and sharing privileged

   discussions will do so with the understanding that he or she should not be able to

   turn around and use those confidences against him, directly or indirectly.




                                              29
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 30 of 31




         This expectation is indeed a foundational one for the recognition of the joint

   defense privilege in the first place. As early federal cases recognizing the privilege

   explained:

         When the Ingram and McPartlin camps decided to join in an attempt to
         discredit [lead government witness Benton], the attorney for each
         represented both for purposes of that joint effort. The relationship was
         no different than it would have been if during the trial the Ingram and
         McPartlin attorneys had decided that Ingram’s attorney would cross-
         examine Benton on behalf of both, and during cross-examination
         McPartlin passed Ingram's attorney a note containing information for
         use in the cross-examination. The attorney who thus undertakes to serve
         his client’s co-defendant for a limited purpose becomes the co-defendant's
         attorney for that purpose.

   United States v. McPartlin, 595 F.2d 1321, 1337 (7th Cir. 1979) (“The common-

   defense rule . . . has been recognized in cases spanning more than a century. Chahoon

   v. Commonwealth, 62 Va. (21 Gratt.) 822 (1871); Schmitt v. Emery, 211 Minn. 547, 2

   N.W.2d 413 (1942).”) (emphasis added). And this is so because “[t]he layman’s course

   through litigation must at least be evened by the assurance that he may, without

   penalty, invest his confidence and confidences in a professional counsellor. . . . That

   assurance is no less important or appropriate where a cooperative program of joint

   defense is helpful or, a fortiori, necessary to form and inform the representation of

   clients whose attorneys are each separately retained.” Matter of Grand Jury

   Subpoena Duces Tecum Dated Nov. 16, 1974, 406 F. Supp. 381, 388 (S.D.N.Y. 1975)

   (citations omitted).

         Hence, the principle that joint defense or common interest communications

   have the benefit of privileged protection only arises from the law’s recognition that

   the attorneys participating in that venture are acting as counselors for all the clients



                                             30
Case 1:22-cr-20306-DPG Document 86 Entered on FLSD Docket 06/27/2023 Page 31 of 31




   involved. So, these same attorneys must do so with the full understanding that

   fiduciary duties will follow, which in a case like this includes the obligation not to

   stand against one of those clients for the benefit of someone else, at least involving

   substantially the same matters. A breach of these duties should be avoided whenever

   possible. Given the early stage of the case we find ourselves in here, disqualification

   is the most responsible and appropriate remedy.

                                   IV. CONCLUSION

         For the foregoing reasons, the Government’s motion to disqualify Defendant’s

   counsel Mr. Shohat and the law firm of Jones Walker from these criminal proceedings

   is GRANTED. Defendant shall retain substitute counsel. Arraignment shall be held

   on July 11, 2023, at 10:00 am before the Duty Judge. Any appeal of this Order shall

   stay this deadline pending further Order of the Court.

         DONE AND ORDERED in Chambers at Miami, Florida, this 27th day of

   June, 2023.

                                                  /s/ Edwin G. Torres
                                                  EDWIN G. TORRES
                                                  United States Magistrate Judge




                                             31
